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                        UNITED STATES DISTRICT COURT
                         MIDDLE DISTRICT OF FLORIDA
                             ORLANDO DIVISION

 UNITED STATES OF AMERICA,

                                    Plaintiff,

                       v.                            Case No: 6:21-cv-1682-GAP-EJK

 THE LINKS SOUTH AT HARBOUR
 VILLAGE CONDOMINUM
 ASSOCIATION, INC.,

                                 Defendant.


             PLAINTIFF’S NOTICE OF PENDENCY OF OTHER ACTIONS


         In accordance with Local Rule 1.07, I certify that the instant action:

_       IS            related to pending or closed civil or criminal case(s) previously
                      filed in this Court, or any other Federal or State court, or
                      administrative agency as indicated below:


    X   IS NOT        related to any pending or closed civil or criminal case filed with
                      this Court, or any other Federal or State court, or administrative
                      agency.


      I further certify that I will serve a copy of this Notice of Pendency of Other
Actions upon each party no later than fourteen days after appearance of the party.




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Dated: October 26, 2021


                                         Respectfully submitted,

                                         KARIN HOPPMANN
                                         Acting United States Attorney



                                 By: /s/ Yohance A. Pettis
                                     YOHANCE A. PETTIS
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                          CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that on October 26, 2021, I electronically filed the

foregoing with the Clerk of Court using the CM/ECF system and mailed via

Electronic Mail to the following:


      Katherine Hurst Miller, Esquire
      kmiller@surfcoastlaw.com


                                            s/Yohance A. Pettis
                                            YOHANCE A. PETTIS
                                            Deputy Chief, Civil Division
                                            Assistant United States Attorney




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